          Case 2:22-mj-01706-VRG Document 5 Filed 07/22/22 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                     DEL RIO DIVISION

United States of America                           §
                                                   §
vs.                                                §      Case Number: DR:22-M -01706(1)
                                                   §
(1) Brittney Alexis Tong                           §
  Defendant


                           ORDER APPOINTING COUNSEL
            The above-named defendant having satisfied this court after appropriate inquiry that
he/she (1) does not wish to waive representation by counsel, and (2) is financially unable to
obtain counsel, the Federal Public Defender is hereby APPOINTED to represent the above
named defendant.

              This appointment shall remain in effect until the case is terminated or a attorney is
appointed.

ORDERED on 22nd day of July, 2022.



                                                   ______________________________
                                                   VICTOR ROBERTO GARCIA
                                                   UNITED STATES MAGISTRATE JUDGE
